                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE WESTERN DISTRICT OF MISSOURI



 H&R BLOCK, INC. and
 HRB INNOVATIONS, INC.

                         Plaintiffs,                   Case No.

            v.                                         JURY TRIAL DEMANDED

 BLOCK, INC.,

                         Defendant.



                                          COMPLAINT

       Plaintiffs H&R Block, Inc. and HRB Innovations, Inc. (together with their subsidiaries

and affiliates, “Block”), by its attorneys Berkowitz Oliver LLP and Debevoise & Plimpton LLP,

for their complaint against Block, Inc., alleges as follows:


                                        Nature of the Case

       1.        Block brings this lawsuit to protect consumers from being deceived and to prevent

a Silicon Valley tech company from stealing Block’s name in order to co-opt the reputation and

goodwill that Block has earned through decades of hard work.


       2.        For more than 65 years, consumers have entrusted their most sensitive and

personal financial information to Block. Block began as a company that helped consumers

prepare and file their tax returns, and has expanded into other financial services including

prepaid debit cards, lines of credit, loans, access to bank accounts, small business services, and

more. One year ago, Block unveiled the next phase of its strategic transformation, Block

Horizons, outlining how the company is leveraging its client relationships and technology




            Case 4:21-cv-00913-GAF Document 1 Filed 12/16/21 Page 1 of 29
platform to accelerate growth in small business and financial products, and continuing to

modernize the consumer tax business to combine digital tools with human expertise and care. As

part of that transformation, in January 2022, Block will launch the SPRUCE BUILT BY H&R

BLOCK financial technology platform that combines the best features of leading digital banks

with Block’s trusted brand and insights, gained from helping millions of customers every year.

Leveraging the deep relationship Block has built with its consumer and small business

customers, and its reputation for trust, quality, reliability and excellence, Block uses innovative

technology to provide customers with a diverse suite of financial services and products, all under

a family of BLOCK trademarks.


       3.       The goodwill that Block has so carefully created and nurtured over the last six-

plus decades is now under attack by a Silicon Valley fintech company that announced on

December 1 that it is rebranding itself as Block, Inc. Previously known as Square, Inc., the

newly-named Block, Inc. competes directly with Block in several areas of tax and other financial

services. For example, Block, Inc. acquired Credit Karma Tax— which is a competitor of

Block’s tax-related businesses—and offers competitive tax preparation and filing services

through Cash App Taxes. Once Block, Inc. completes the integration of Credit Karma Tax,

customers will be able to receive their tax refunds via Block, Inc.’s Cash App (which Block, Inc.

describes as one of the “building blocks” in its family of companies), and will be able to save

those funds or spend them through the Cash App or through Cash App’s Cash Card debit card.

In the same exact manner, Block’s customers can access, save or spend their tax refunds using

Block’s MyBLOCK app and the integrated H&R BLOCK EMERALD CARD (a prepaid

Mastercard debit card). Block, Inc. even intends to offer these services using a square green logo




            Case 4:21-cv-00913-GAF Document
                                        2 1 Filed 12/16/21 Page 2 of 29
(shown at right below) that is nearly identical in color and shape to Block’s federally registered

green square logo (shown at left below).




         4.       In the two weeks since Block, Inc. announced its name change, consumers (and

even an employee in the Block, Inc. family of companies) have indicated on Twitter that

consumers are likely to draw an link between Block, Inc. and Block because of Block, Inc.’s

choice to co-opt the BLOCK name. It is inevitable that even more consumer confusion and

deception will follow as Block, Inc. moves beyond the announcement phase and starts to actively

market, advertise and sell its competing tax and other financial products and services. Block,

Inc. is already promoting its Cash App Taxes service as coming from Block, Inc. as shown

below:




         5.       Instead of misappropriating the BLOCK name, Block, Inc. could have continued

to use its prior name (Square, Inc.) or could have chosen any number of alternatives. Block,

Inc.’s decision—taken with obvious knowledge of Block’s market position, reputation and

trademark rights—reflects a conscious choice to trade on Block’s heritage of consumer trust. As

a relatively new Silicon Valley business, Block, Inc. knows that it does not have the kind of

history or reputation for trust and reliability that Block has enjoyed for more than 65 years, or the



              Case 4:21-cv-00913-GAF Document
                                          3 1 Filed 12/16/21 Page 3 of 29
deep relationship with consumers that Block has earned. Instead of earning its own reputation

under its own brand, Block, Inc. has decided to take a short cut.


       6.       Block, Inc.’s name change will deceive consumers and cause irreparable harm to

Block. Consumers will mistakenly believe that Block is one of the “building blocks” in the

Block, Inc. family of financial services companies. Any announced bad news about Block, Inc.

—such as a data breach that exposes its customers’ social security numbers or private financial

information—would devastatingly be associated with Block. There is no harm more irreparable

than the loss of reputation that this confusion will cause. Block therefore asks this Court to put a

stop to Block Inc.’s unlawful conduct and prevent this harm.


                                           The Parties

       7.       Plaintiff H&R Block, Inc. is a corporation organized under the laws of the State of

Missouri, with its principal place of business located at One H&R Block Way, Kansas City,

Missouri 64105. H&R Block, Inc. is a holding company that operates through its subsidiaries,

and is the ultimate parent company to the Block family of companies.


       8.       Plaintiff HRB Innovations, Inc. is a corporation organized under the laws of the

State of Delaware, with its principal place of business located at 103 Foulk Road, Suite 208,

Wilmington, Delaware 19803, and is a wholly-owned indirect subsidiary of H&R Block, Inc.

HRB Innovations is the owner of the BLOCK family of marks.


       9.       Upon information and belief, Defendant Block, Inc. is a Delaware corporation

with a principal place of business located at 1455 Market Street, Suite 600, San Francisco,

California 94103, and is registered to conduct business in the State of Missouri. Formerly




            Case 4:21-cv-00913-GAF Document
                                        4 1 Filed 12/16/21 Page 4 of 29
known as Square, Inc., Block, Inc. announced its name change on December 1, 2021 and

formally changed its name on December 10, 2021.



                                      Jurisdiction and Venue

        10.     This Court has original jurisdiction over this action pursuant 15 U.S.C. §§ 1121

and 28 U.S.C. §§ 1331 and 1338 and has supplemental jurisdiction pursuant to 28 U.S.C.

§ 1367(a).


        11.     This Court has personal jurisdiction over Block, Inc. pursuant to Mo. Rev. Stat.

§ 506.500 because Block, Inc. transacts business within the State of Missouri and committed

trademark infringement in the State of Missouri.


        12.     Venue is proper under 28 U.S.C. §§ 1391(b) and (c). Block, Inc. is located in this

district and does business in this District, and a substantial part of the events giving rise to the

claims in this case occurred in this District.


                       Block and Its Well-Known BLOCK Family of Marks


        13.     In 1955, brothers Henry and Richard Bloch transformed their bookkeeping

business into a new company that specialized in income tax preparation. They called their

company “H&R Block.” More than 65 years later, Block is a market leader and a brand icon in

tax and other financial services, with over 9,000 locations in the United States alone. With

nearly 1,500 additional offices in Canada and Australia, Block is one of the world’s largest tax

preparation companies, with more than 800 million tax returns prepared for its customers.


        14.     In the past six-plus decades, Block has expanded its services from tax preparation

to a variety of other financial services, including electronic tax filing, refund advance loans,



          Case 4:21-cv-00913-GAF Document
                                      5 1 Filed 12/16/21 Page 5 of 29
refund transfers, prepaid debit cards, lines of credit, providing credit scores, mobile banking

platforms, tax refund identity theft protection, and small business services. Block already offers

a number of these services through its MyBLOCK mobile app, and has announced that, in 2022,

it will launch a new, innovative financial technology platform, SPRUCE BUILT BY H&R

BLOCK, which will provide consumers with a range of mobile banking, such as the ability to set

and monitor savings goals and the ability to earn cash back on everyday purchases.


       15.     Block offers its services under a family of marks (the “BLOCK Marks”),

including a number for which it owns United States trademark registrations. Among those

registrations are the following:



             Mark              Reg. No.    Reg. Date.                  Services/Goods

 H&R BLOCK                    3,338,962 Nov. 20,          Preparation of tax returns for others;
                                        2007              financial planning services; conducting
                                                          classes and courses in preparation of tax
                                                          returns.

 H&R BLOCK                    3,392,368 Mar. 4,           Debit card and credit card services.
 EMERALD CARD                           2008

 H&R BLOCK                    3,525,361 Oct. 28,          Savings account services.
 EMERALD SAVINGS                        2008

 H&R BLOCK                    3,532,084 Nov. 11,          Financial services, namely, debit and
 EMERALD ADVANCE                        2008              credit card services, loan financing and
                                                          financing lines of credit.

 BLOCKWORKS                   4,769,331 Jul. 7, 2015      Computer software for tax return
                                                          preparation, tax planning, tax calculation,
                                                          and tax return filing and associated
                                                          instructional manuals and other printed
                                                          instructional materials sold as a unit
                                                          therewith.

 BLOCK ADVISORS               5,055,458 Oct. 4, 2016 Tax return preparation for others; tax
                                                     planning services; business management



          Case 4:21-cv-00913-GAF Document
                                      6 1 Filed 12/16/21 Page 6 of 29
             Mark               Reg. No.   Reg. Date.                 Services/Goods

                                                         and consulting services; accounting
                                                         services; bookkeeping; and payroll
                                                         services for others, namely, payroll
                                                         preparation and payroll processing.

                             5,179,142 Apr. 11,          Tax return preparation for others; tax
                                       2017              planning services; business management
                                                         and consulting services; accounting
                                                         services; budgeting services; bill paying
                                                         services; and payroll services for others,
                                                         namely, payroll preparation and payroll
                                                         processing services.

 BLOCK HAS YOUR              6,003,605 Mar. 3,           Preparation of tax returns for others.
 BACK                                  2020

       16.     These registrations were duly and legally issued, and they are valid and

subsisting. The registrations for H&R BLOCK, BLOCKWORKS, H&R BLOCK EMERALD

SAVINGS, H&R BLOCK EMERALD ADVANCE, and BLOCKWORKS also are incontestable

pursuant to 15 U.S.C. § 1065.


       17.     Block promotes and provides its services under the BLOCK Marks on its websites

including https://hrblock.com/ and https://blockadvisors.com/. It also promotes its brand on

Twitter under the handles @hrblock, @hrblocknews and @hrblockanswers; on Facebook under

the name @hrblock; on Instagram under the name @hrblock; and on LinkedIn at

https://www.linkedin.com/company/h&r-block/.


       18.     Block has made significant investment to develop its brand identity, including

through community outreach programs and national advertising campaigns on television, in

print, on the radio, on the Internet, and on social media channels, including Twitter, Instagram,




         Case 4:21-cv-00913-GAF Document
                                     7 1 Filed 12/16/21 Page 7 of 29
Facebook and LinkedIn. Over the last three years alone, Block has spent nearly half a billion

dollars advertising its products and services under the BLOCK Marks.


       19.    Through these campaigns, and since at least 2015, Block has prominently

identified itself simply as BLOCK (in addition to using the BLOCK Marks) to promote its

consumer services, as shown in the following examples:




         Case 4:21-cv-00913-GAF Document
                                     8 1 Filed 12/16/21 Page 8 of 29
       20.     Among the BLOCK Marks is “MyBlock,” the

mobile app (shown at right) that consumers can use to get support

from their Block tax professionals, access credit scores, manage

their Tax Identity Shield membership (which helps protect against

identity theft tax refund fraud), upload receipts, donations, and

other tax-related items, and access other financial services, such as

manage their H&R BLOCK EMERALD CARD.


       21.     In addition to advertising its consumer services under the BLOCK Marks, Block

refers to itself as BLOCK in recruiting new employees, such as inviting them to come to “Block

Day” career events, and explaining that “Opportunity knocks at Block” as shown below:




Employees who go above and beyond in demonstrating Block’s values can be awarded the title

of “BLOCK MVP,” and featured on Block’s social media channels. Block employees frequently

refer to their employer as “Block,” and customers frequently refer to the local offices where they

go for Block’s services as “Block” offices.




          Case 4:21-cv-00913-GAF Document
                                      9 1 Filed 12/16/21 Page 9 of 29
       22.     In connection with its small business services and advice, Block uses the BLOCK

ADVISORS registered trademark (Reg. No.

5,055,458) and the BLOCK ADVISORS and

design registered trademark (Reg. No. 5,179,142, shown at right). In 2021 alone, Block has

served more than two million small businesses, including under the BLOCK ADVISORS brand.


       23.     In addition to the tax and other

financial services offered under the BLOCK

Marks, in 2019 Block formed a community

impact program under the name MAKE EVERY BLOCK BETTER. Through this program,

Block employees volunteer and give back to their local communities. Block partners with

national organizations and those in its hometown—such as Habitat for Humanity, Nextdoor, the

Urban Neighborhood Initiative, the Neighborhoods Rising Fund, the Ewing Marion Kauffman

Foundation, and the Urban League of Greater Kansas City—to build connections among

neighbors and provide resources and support in communities through efforts such as donating to

food pantries, increasing access to quality housing and better neighborhood spaces, enhancing

shared community spaces, and supporting small businesses. Block promotes the MAKE EVERY

BLOCK BETTER program with its BLOCK branding at its various community programs, such

as with t-shirts, and other branding, as shown below:




         Case 4:21-cv-00913-GAF Document
                                     10 1 Filed 12/16/21 Page 10 of 29
       24.     Block also uses the BLOCK Marks to support local charitable initiatives in

Kansas City, Block’s hometown. Block licenses the BLOCK Marks to the H&R Block

Foundation, a Kansas City non-profit organization that, since 1974, has worked to create positive

social change on important community issues, such as art and culture, neighborhood

revitalization, education, and health and human service.


       25.     Block also uses the BLOCK Marks in connection with its diversity and inclusion

initiative BELONGING AT BLOCK:




         Case 4:21-cv-00913-GAF Document
                                     11 1 Filed 12/16/21 Page 11 of 29
         26.    As a result of its efforts, the H&R BLOCK brand has over 90% brand awareness

in the United States.


         27.    Although Block is aware of other companies that use BLOCK-formative marks

such as BLOCK & COMPANY, INC.—which offers real estate brokerage services in the Kansas

City area, and uses a logo that is distinct from Block’s (shown

at right)—Block is not aware of any companies with a national

reach that use the “BLOCK” mark in connection with the types of tax preparation and other

financial services that Block offers under its family of BLOCK Marks. Indeed, when other

companies have used marks confusingly similar to the BLOCK Marks in connection with the

types of tax preparation and other financial services that Block offers, Block has enforced its

rights to swiftly put an end to the infringing use.


                        Block’s Green Color Scheme and Green Square Marks

         28.    As shown in virtually all of the images reproduced above, Block consistently and

prominently uses the color green in connection with its BLOCK Marks. Block also owns

federally registered trademarks for its green square logo (the “Green Square Marks”), shown

below:


          Mark                Reg. No.       Reg. Date.                Services/Goods

                             2,533,014     Jan. 22, 2002   Preparation of tax returns for others.


[Note: The mark
consists in part of a
green square]




          Case 4:21-cv-00913-GAF Document
                                      12 1 Filed 12/16/21 Page 12 of 29
            Mark            Reg. No.       Reg. Date.                 Services/Goods

                           3,656,593     July 21, 2009    Computer programs for use in the
                                                          preparation of tax returns; tax advice
                                                          and planning services; tax consultation;
                                                          tax filing services; accounting
                                                          consultation and accounting services;
                                                          Financial planning services; banking
                                                          services; and mortgage services,
                                                          namely, mortgage banking, mortgage
                                                          lending, mortgage brokering and
                                                          mortgage servicing; Educational
                                                          services, namely, conducting classes
                                                          and courses in the field of tax
                                                          preparation and distribution of course
                                                          materials in connection therewith;
                                                          Providing online non-downloadable
                                                          software for use in the preparation of
                                                          tax returns.

                           5,179,142     Apr. 11, 2017    Tax return preparation for others; tax
                                                          planning services; business
                                                          management and consulting services;
                                                          accounting services; budgeting
                                                          services; bill paying services; and
                                                          payroll services for others, namely,
                                                          payroll preparation and payroll
                                                          processing services.


And as shown in Paragraph 22 above, the BLOCK ADVISORS mark

incorporates a green square logo, in three-dimensional cube form.

Block, Inc. uses a similar three-dimensional cube for its brand, as shown

at right.

        29.     The first two Green Square Marks listed above were duly and legally issued, they

are valid and subsisting, and are also incontestable pursuant to 15 U.S.C. § 1065.




            Case 4:21-cv-00913-GAF Document
                                        13 1 Filed 12/16/21 Page 13 of 29
       30.     As an extension of its green branding,

Block offers the H&R BLOCK EMERALD PREPAID

MASTERCARD, which allows customers to deposit

money onto a Block-branded prepaid debit card

(including direct deposit of tax refunds and payroll).

The Emerald Card can be used as an everyday account, to pay bills, and to make purchases

anywhere Mastercard® debit cards are accepted. The Emerald Card is the fourth most popular

prepaid debit card in the United States. Block also offers the Emerald Savings account (which

can be used in conjunction with the Emerald Card to make deposits and withdrawals), and

Emerald Advance (a line of credit with year-round access). Consumers can manage their

Emerald Card and Emerald Savings accounts through Block’s “MyBlock” mobile app or through

the login page on Block’s website.


       31.     In 2020, Block announced its “Block Horizons 2025” transformation strategy

program, which targets the next phase of Block’s growth and development, focusing on three

strategic imperatives including “Small Business,” “Financial Products,” and the “Block

Experience.” This program will help provide access to financial services for customers who are

“underbanked” (e.g., individuals who have some type of bank account but also use alternative

financial services, such as money orders, check-cashing services, and payday loans, to manage

their finances and make purchases). Through the Block Horizons 2025 corporate growth

strategy, Block has already announced that it will launch its SPRUCE financial technology

platform in early 2022:




         Case 4:21-cv-00913-GAF Document
                                     14 1 Filed 12/16/21 Page 14 of 29
                      Block, Inc.’s Infringing Re-Branding as “BLOCK”


       32.     On December 1, 2021, Block, Inc., formerly known as Square, Inc., publicly

announced that it was changing its name to “Block, Inc.” In the “About Block” section of its

press release, Block, Inc. describes the company as “a global technology company with a focus

on financial services.” Block, Inc.’s CEO, Jack Dorsey, stated: “Block is a new name, but our

purpose of economic empowerment remains the same. No matter how we grow or change, we

will continue to build tools to help increase access to the economy.” Block, Inc.’s businesses

include offering tax preparation and other financial services, such as prepaid debit cards, bank

accounts, and payroll services that include the payment of payroll taxes. A true and correct copy

of the December 1, 2021 press release is attached hereto as Exhibit A.




         Case 4:21-cv-00913-GAF Document
                                     15 1 Filed 12/16/21 Page 15 of 29
        33.    Block, Inc. has launched a

website at https://block.xyz, which identifies

its brands, including Square and Cash App, as

the “building blocks” of the BLOCK brand.

Block, Inc.’s website visually depicts its

brands as “building blocks” (as shown at right). Block, Inc. also has established “BLOCK”

social media accounts, a “BLOCK” LinkedIn page with the tagline “joinblock” in the URL

address, a “BLOCK” copyright and trademark policy, a “BLOCK” contact for press and investor

relations, and a “BLOCK” music playlist on its website called “BLOCK VIBES.” Block, Inc.’s

Twitter handle is “@blocks” and “@blockir.” The first search result on Twitter (of which Mr.

Dorsey was also the founder and a former CEO) for “Block” is Block, Inc., followed by Block’s

Twitter account @hrblock. A printout of Block, Inc.’s block.xyz website is attached hereto as

Exhibit B.


        34.    According to the December 1 press release, Block, Inc.’s Square brand “helps

sellers run and grow their business with its integrated ecosystem of commerce solutions, business

software, and banking services.” Square’s website (at https://squareup.com/us/en/banking)

explains that, with Square, “[y]our payments, business banking accounts, and cash flow [are]

synced together seamlessly.” Square also offers checking account services with a linked debit

card.


        35.    Block, Inc.’s Cash App brand is a mobile payment service that offers users direct

deposit, a debit card connected to the user’s balance that can be used anywhere Visa is accepted,

and money transfer services. Block, Inc.’s Cash App uses a green square logo that is nearly

identical in color and shape to Block’s federally registered Green Square Marks:



         Case 4:21-cv-00913-GAF Document
                                     16 1 Filed 12/16/21 Page 16 of 29
       36.     As Block strives to do, Cash App has stated that it also seeks to help underbanked

consumers, as described on its LinkedIn page, shown below:




       37.     On information and belief, Cash App also is about to begin offering tax

preparation services that compete directly with Block’s tax preparation business. On November

25, 2020, Block, Inc. announced that it entered into an agreement, on behalf of Cash App, to

acquire Credit Karma’s tax business. The press release stated that “[t]he acquisition provides an

opportunity to digitize and simplify the tax filing process in the United States, expanding access

to the one in three households which are unbanked or underbanked.” The press release further

explained that “[t]he tax product will expand Cash App’s diverse ecosystem of financial tools—

which currently includes peer-to-peer payments, Cash Card, [and] direct deposit . . . giving

customers another way to manage their finances from their pocket.” A true and correct copy of

the press release is attached hereto as Exhibit C.


       38.     On information and belief, Cash App is not yet offering these tax filing service

products but plans to do so imminently, as it has begun to advertise on its website



         Case 4:21-cv-00913-GAF Document
                                     17 1 Filed 12/16/21 Page 17 of 29
(https://cash.app/taxes) using green branding that is similar to Block’s branding, and green

squares that are similar to Block’s Green Square Marks.




       39.     News reports in November 2021 state that “Cash App is currently working to

integrate the Credit Karma Tax platform,” and that “customers will access the tax prep software

through Cash App instead of Credit Karma.” Attached hereto as Exhibit D is a true and correct

copy of a Forbes Advisor article describing the Cash App’s integration of Credit Karma Tax.


       40.     Block, Inc. is already promoting Cash App Taxes—the service that will compete

directly with Block—as coming from Block, Inc.:




         Case 4:21-cv-00913-GAF Document
                                     18 1 Filed 12/16/21 Page 18 of 29
       41.        On information and belief, Block, Inc. also intends to offer charitable services

under the BLOCK brand. On December 1, 2021, Block, Inc. (under its then-name Square, Inc.)

filed an application with the United States Patent and Trademark Office (“USPTO”) to register

BLOCK as a trademark for use in connection with, among other services, “charitable services,

namely, promoting public awareness about charitable, philanthropic, volunteer, public and

community service and humanitarian activities.” It also has filed an application to register its

block logo. A true and correct copy of these trademark applications are attached hereto as

Exhibit E.


       42.        Given the similarities between the tax and other financial services offered by

brands that form the building blocks of the Block, Inc. family of financial services companies

(such as Square and Cash App) on the one hand, and the tax and other financial services offered

by Block on the other, as well as the charitable services to be offered by Block, Inc. and that are

currently offered by Block, all under the BLOCK name and marks, consumer confusion is

inevitable.


       43.        In the two weeks since Block, Inc. changed its name to Block, Inc. and became

known as BLOCK, there has been significant discussion on social media reflecting actual or

potential confusion. For example, users have tweeted in response to Block, Inc.’s name change


                 “The square rebrand is surely going to piss off@HRBlock who do a lot of
                  financial services stuff under the Block name.”

                 “Are you talking about H&R Block?”

                 “Have you ever heard of H&R Block? They are in the financial business as well.
                  Did you know they refer to their business as the Block?”

                 “[D]oesn’t this seem close to H&R Block with their simple green square logo?”




         Case 4:21-cv-00913-GAF Document
                                     19 1 Filed 12/16/21 Page 19 of 29
                “[I]sn’t that name already taken by HRBlock, which is already in the financial and
                 banking sectors?”




       44.       Even employees in the Block, Inc. family of companies recognize the risk of

confusion. For example, one of those employees tweeted: “Folks regularly mistook me working

and [sic] Square Enix. Now, I’m pretty sure folks are now going to think I work for H&R

Block.”




          Case 4:21-cv-00913-GAF Document
                                      20 1 Filed 12/16/21 Page 20 of 29
        45.     Block, Inc., by using “BLOCK” as its name in connection with its tax and other

financial services businesses, is creating a likelihood of confusion with Block’s tax and other

financial services, and the BLOCK Marks. As Block, Inc. expands its financial offerings under

the BLOCK brand of companies, and as its use of the BLOCK mark becomes more widespread,

the initial confusion highlighted above will only become exacerbated. That is particularly true as

Block, Inc.’s Cash App Taxes completes its integration of Credit Karma Tax and begins offering

the same tax preparation services as Block, with its green color scheme and square logo.


        46.     The potential consumers of Block, Inc.’s services are the same as, or similar to,

the potential consumers for Block. They include consumers seeking tax and other financial

services, small businesses seeking tax and other financial services, and unbanked or underbanked

individuals seeking debit cards, savings accounts, and other financial services. Given the clear

overlap, these consumers are particularly susceptible to being confused by Block, Inc.’s

misappropriation of the BLOCK trademark.


        47.     If Block, Inc. is not enjoined from infringing Block’s family of BLOCK Marks,

Block will suffer irreparable harm, and the goodwill that Block has spent decades cultivating will

be eroded.


                                           COUNT ONE
                                (Registered Trademark Infringement
                                Under Section 32 of the Lanham Act)

        48.     Block repeats and realleges each and every allegation in the foregoing paragraphs

as if fully set forth herein.




          Case 4:21-cv-00913-GAF Document
                                      21 1 Filed 12/16/21 Page 21 of 29
       49.       Certain of the BLOCK Marks and the Green Square Marks are registered with the

USPTO and are valid, subsisting, used in commerce, and inherently distinctive (the “Registered

BLOCK Marks”).


       50.       Block, Inc.’s “BLOCK” mark and green logo are confusingly similar to the

Registered BLOCK Marks and the Green Square Marks. Those marks are used in connection

with advertising and offering products and services that are overlapping and related to the

products and services offered by Block.


       51.       Block, Inc.’s use of the “BLOCK” mark and the green square logo is therefore

likely to cause confusion, or to cause mistake, or to deceive as to the source, origin, sponsorship

or affiliation of Block, Inc.’s products and services, and is likely to cause consumers to believe,

incorrectly, that Block, Inc.’s products and services originate from, or have been authorized,

sponsored, approved, or endorsed by Block, or that Block, Inc.’s businesses are otherwise

connected to, sponsored by, or affiliated with Block in some way; whereas, in fact, Block does

not approve of Block, Inc.’s appropriation of its trademarks for Block, Inc.’s products, services,

or businesses.


       52.       Block, Inc.’s use of the confusingly similar BLOCK trademark and the

confusingly similar green square logo is likely to cause irreparable injury to the reputation of

Block as well as the goodwill developed by Block for its services and the BLOCK brand. The

extent of this harm cannot be ascertained at this time, leaving Block without any adequate

remedy at law.


       53.       The foregoing acts by Block, Inc. constitute trademark infringement of Block’s

federally registered trademarks in violation of Section 32 of the Lanham Act, 15 U.S.C. § 1114.



         Case 4:21-cv-00913-GAF Document
                                     22 1 Filed 12/16/21 Page 22 of 29
        54.      By reason of the foregoing, Block is entitled to injunctive relief against Block,

Inc., restraining Block, Inc. from further acts of infringement of the Registered BLOCK Marks

and, after trial, recovery of any damages (to the extent calculable) proven to have been caused by

reason of Block, Inc.’s aforesaid acts.


                                            COUNT TWO
                                      (Trademark Infringement
                                Under Section 43(a) of the Lanham Act)


        55.      Block repeats and realleges each and every allegation in the foregoing paragraphs

as if fully set forth herein.


        56.      The BLOCK Marks and the Green Square Marks are used in commerce in the

United States.


        57.      Block Inc.’s infringing “BLOCK” mark is confusingly similar to Block’s family

of BLOCK Marks. Block, Inc.’s infringing use of the green square logo in connection with its

Cash App Taxes services is confusingly similar to Block’s Green Square Marks. Block, Inc.’s

promotion, advertising, offering for sale, and sale of its services in connection with the

“BLOCK” mark and the green square logo is therefore likely to cause confusion, to cause

mistake, and/or to deceive as to affiliation, connection, or association between Block and Block,

Inc., and is likely to cause members of the public to believe, incorrectly, that Block, Inc.’s

products and services are provided by, or under the sponsorship or approval of, Block; whereas,

in fact, Block does not approve of Block, Inc.’s appropriation of its trademarks for Block, Inc.’s

products, services, or businesses.




          Case 4:21-cv-00913-GAF Document
                                      23 1 Filed 12/16/21 Page 23 of 29
        58.     Block, Inc.’s use of the confusingly similar BLOCK trademark and green square

logo is likely to cause irreparable injury to the reputation of Block as well as the goodwill

developed by Block for its services and the BLOCK brand. The extent of this harm cannot be

ascertained at this time, leaving Block without any adequate remedy at law.


        59.     Block, Inc.’s current use of the BLOCK trademark constitutes infringement of the

common law family of BLOCK Marks in violation of Section 43(a) of the Lanham Act, 15

U.S.C. § 1125(a).


        60.     By reason of the foregoing, Block is entitled to injunctive relief against Block,

Inc., restraining Block, Inc. from further acts of infringement of Block’s common law

trademarks and, after trial, recovery of any damages (to the extent calculable) proven to have

been caused by reason of Block, Inc.’s aforesaid acts.


                                       COUNT THREE
                                   (Trademark Infringement
                                 Under Missouri Common Law)


        61.     Block repeats and realleges each and every allegation in the foregoing paragraphs

as if fully set forth herein.


        62.     Block is the common law owner of the BLOCK Marks and the Green Square

Marks, which are strong, distinctive, valid, and enforceable trademarks at common law.


        63.     Block, Inc.’s promotion, advertising, offering for sale, and sale of its services in

connection with the “BLOCK” mark and the green square logo is likely to cause confusion, to

cause mistake, and/or to deceive as to affiliation, connection, or association between Block and

Block, Inc., and is likely to cause members of the public to believe, incorrectly, that Block, Inc.’s



          Case 4:21-cv-00913-GAF Document
                                      24 1 Filed 12/16/21 Page 24 of 29
products and services originate from, or have been authorized, sponsored, approved, or endorsed

by Block, or that Block Inc.’s businesses are otherwise connected to, sponsored by, or affiliated

with Block in some way; whereas, in fact, Block does not approve of Block Inc.’s appropriation

of its trademarks for Block, Inc.’s products, services, or businesses.


        64.     Block, Inc.’s use of the confusingly similar “BLOCK” mark and the green square

logo is likely to cause irreparable injury to the reputation of Block, as well as the goodwill

developed by Block for its services and the BLOCK Marks.


        65.     The above described acts and practices constitute infringement of Block’s valid

and enforceable common law trademarks.


        66.     By reason of the foregoing, Block is entitled to injunctive relief against Block,

Inc., restraining Block, Inc. from further acts of infringement of Block’s common law trademark

and, after trial, recovery of any damages (to the extent calculable) proven to have been caused by

reason of Block, Inc.’s aforesaid acts.


                                         COUNT FOUR
                                       (Unfair Competition)


        67.     Block repeats and realleges each and every allegation in the foregoing paragraphs

as if fully set forth herein.


        68.     The BLOCK Marks and the Green Square Marks are distinct and significant, such

that the use of the name “BLOCK” and the Green Square Marks identify Block. Block has an

established reputation which is capable of protection.




          Case 4:21-cv-00913-GAF Document
                                      25 1 Filed 12/16/21 Page 25 of 29
        69.     Block, Inc.’s unfair use of the “BLOCK” mark and the green square logo is likely

to deceive consumers, and has in fact actually deceived consumers, in that it is likely to cause

members of the public to believe, incorrectly, that Block, Inc.’s products and services originate

from, or have been authorized, sponsored, approved, or endorsed by Block, or that Block, Inc.’s

businesses are otherwise connected to, sponsored by, or affiliated with Block in some way;

whereas, in fact, Block does not approve of Block, Inc.’s appropriation of its trademarks for

Block, Inc.’s products, services, or businesses.


        70.     Block, Inc., by virtue of its unfair use of the “BLOCK” mark and the green square

logo, has violated society’s notions of fair play and fundamental fairness.


        71.     The above described acts and practices constitute actionable unfair competition

under Missouri law.


        72.     By reason of the foregoing, Block is entitled to injunctive relief against Block,

Inc., restraining Block, Inc. from further acts of infringement of Block’s common law trademark

and, after trial, recovery of any damages (to the extent calculable) proven to have been caused by

reason of Block, Inc.’s aforesaid acts.


                                          COUNT FIVE
                        (Injunctive Relief Under Mo. Rev. Stat. § 417.061)


        73.     Block repeats and realleges each and every allegation in the foregoing paragraphs

as if fully set forth herein.


        74.     As discussed above, Block is the owner of the BLOCK Marks and the Green

Square Marks, which are strong, distinctive, valid, and enforceable trademarks at common law.




          Case 4:21-cv-00913-GAF Document
                                      26 1 Filed 12/16/21 Page 26 of 29
        75.      Block, Inc.’s use of the “BLOCK” mark and the green square logo is similar to

Block’s distinctive common law trademarks.


        76.      Block, Inc.’s continuing use of the “BLOCK” mark and the green square logo is

likely to injure the business reputation of Block and/or dilute the distinctive quality of its

trademarks.


        77.      The above described acts and practices constitute violations of Mo. Rev. Stat.

§ 417.061.


        78.      By reason of the foregoing, Block is entitled to injunctive relief against Block,

Inc., restraining Block, Inc. from further acts of infringement of Block’s common law

trademarks.



                                       PRAYER FOR RELIEF


        WHEREFORE, Block respectfully demands judgment:

        1.       That Block, Inc. and all those in active concert or participation with Block, Inc.

(including, but not limited to, its officers, directors, agents, servants, wholesalers, distributors,

retailers, employees, representatives, attorneys, subsidiaries, related companies, successors,

assigns, and contracting parties) be temporarily, preliminarily, and then permanently enjoined

and restrained from:


        i. using the “BLOCK” mark, or any other logo, device, design, or word mark that is a

              colorable imitation of, or is similar to, the Block Marks, or any of them, in connection

              with the advertising, distribution, marketing, offering for sale, or sale of any product

              or service neither originating from nor authorized by Block;



         Case 4:21-cv-00913-GAF Document
                                     27 1 Filed 12/16/21 Page 27 of 29
        ii. using the green square logo, or any other logo, device, design, or word mark that is a

             colorable imitation of, or is similar to, Block’s Green Square Marks, in connection

             with the advertising, distribution, marketing, offering for sale, or sale of any product

             or service neither originating from nor authorized by Block;


        iii. representing in any manner or by any method whatsoever, that goods, services or

             other products provided by Block, Inc. are sponsored, approved, authorized by or

             originate from Block or otherwise taking any action likely to cause confusion,

             mistake or deception as to the origin, approval, sponsorship or certification of such

             goods, products, or services;


        2.      That Block, Inc. and all those in active concert or participation with Block, Inc.

(including, but not limited to, its officers, directors, agents, servants, wholesalers, distributors,

retailers, employees, representatives, attorneys, subsidiaries, related companies, successors,

assigns, and contracting parties) take affirmative steps to dispel such false impressions that

heretofore have been created by their use of the BLOCK mark, including, but not limited to,

recalling from any and all channels of distribution any and all advertising, marketing, or

promotional material and the like, bearing or distributed under the BLOCK mark, or any

confusingly similar variations thereof.


        3.      That Block, Inc., within thirty days after service of judgment with notice of entry

thereof upon them, be required to file with the Court and serve upon Block’s attorneys a written

report under oath setting forth in detail the manner in which Block, Inc. has complied with the

above-mentioned paragraphs 1 through 2.


        4.       That Block, Inc. account to Block for its profits and any damages sustained by



         Case 4:21-cv-00913-GAF Document
                                     28 1 Filed 12/16/21 Page 28 of 29
Block, to the extent calculable, arising from the foregoing acts of trademark infringement, false

designation of origin, unfair competition and deceptive acts and practices.


       5.        That, in accordance with such accounting, Block be awarded judgment for three

times such profits or damages (whichever is greater), pursuant to 15 U.S.C. § 1117.


       6.        That Block be awarded its reasonable costs and attorneys’ fees and

disbursements.


       7.        That Block have such other and further relief as the Court may deem equitable.



                                         JURY DEMAND

       Block hereby demands a trial by jury on all issues so triable.


                                                  /s/ Anthony J. Durone
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         Case 4:21-cv-00913-GAF Document
                                     29 1 Filed 12/16/21 Page 29 of 29
